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                                 Exhibit A




DOCS_DE 178556.1 91100-001
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          W.R. Grace - 42nd Interim Period (July 1, 2011 - September 30, 2011)
                     Fee and Expense Chart with Recommendations
                                        Exhibit A


                                ANDERSON KILL & OLICK, P.C.
Fee Application Docket No.         Total Fees Total Expenses        Fees Allowed          Expenses
                                   Requested    Requested            on Interim          Allowed on
                                                                        Basis           Interim Basis
 27955                TOTAL:        $226,658.50         $426.29       $226,658.50              $426.29



                                     AUSTERN. DAVID T.
Fee Application Docket No.          Total Fees Total Expenses      Fees Allowed on     Expenses
                                    Requested  Requested           Interim Basis       Allowed on
                                                                                       Interim Basis
  28425               TOTAL:          $3,150.00 I          $0.00         $3,150.00               $0.00



                             BAER HIGGINS FRUCHTMAN LLC
Fee Application Docket No.        Total Fees Total Expenses Fees Allowed on            Expenses
                                 Requested   Requested      Interim Basis              Allowed on
                                                                                       Interim Basis
  27909               TOTAL:        $359,307.50 I      $7,656.14       $359,307.50           $7,656.14



              BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ, P.C.
Fee Application Docket No.    Total Fees Total Expenses Fees Allowed on                Expenses
                              Requested  Requested      Interim Basis                  Allowed on
                                                                                       Interim Basis
 27964         I      TOTAL:          $57,000.00 I        $9.68         $57,000.00 I             $9.68



                                BEVERIDGE & DIAMOND, P.C.
Fee Application Docket No.        Total Fees  Total Expenses       Fees Allowed on Expenses Allowed
                                  Requested     Requested           Interim Basis   on Interim Basis

 28441                 TOTAL:         $49,575.00         $704.83         $49,575.00              $704.83




                  BILZIN SUMBERG DUNN BAIENA PRICE & AXELROD LLP
Fee Application Docket No.     Total Fees Total Expenses Fees Allowed on Expenses Allowed
                               Requested    Requested     Interim Basis   on Interim Basis
 27936                 TOTAL:         $22,765.50       $2,052.77         $22,745.50            $2,052.77
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                              BLACKSTONE ADVISORY SERVICES L.P.


I
    Fee Application Docket No.

      28026            I   TOTAL: I
                                    Total Fees
                                    Requested
                                     $375,000.00 I
                                                        T
                                                   Total Expenses Fees Allowed on Expenses Allowed
                                                     Requested
                                                          $1,881.26 I
                                                                      Interim Basis
                                                                         $375,000.00 I
                                                                                       on Interim Basis
                                                                                              $1,881.26 I



                                              BMC GROUP
    Fee Application Docket No.          Total Fees   Total Expenses       Fees Allowed on Expenses Allowed
                                        Requested      Requested           Interim Basis   on Interim Basis
I     28023            I   TOTAL:        $125,136.50       $6,536.14          $125,136.50         $6,536.14 I



                                      CAMPBELL & LEVINE, LLC
    Fee Application Docket No.          Total Fees Total Expenses          Fees Allowed        Expenses
                                       Requested     Requested              on Interim        Allowed on
                                                                               Basis         Interim Basis
      27954        I       TOTAL:          $37,207.00         $4,345.79       $37,207.00           $4,345.79



                                  CAPLIN & DRYSDALE, CHARTERED
    Fee Application Docket No.         Total Fees Total Expenses           Fees Allowed        Expenses
                                       Requested     Requested              on Interim        Allowed on
                                                                               Basis         Interim Basis
      27957        I       TOTAL:          $77,203.50         $2,990.56        $77,203.50          $2,990.56



                                  CAPSTONE ADVISORY GROUP, LLC
    Fee Application Docket No.         Total Fees Total Expenses           Fees Allowed        Expenses
                                       Requested    Requested               on Interim        Allowed on
                                                                               Basis         Interim Basis
      28293                TOTAL:         $192,770.50          $369.08       $192,770.50            $369.08



                                       CASNER & EDWARDS LLP
    Fee Application Docket No.          Total Fees Total Expenses          Fees Allowed        Expenses
                                        Requested    Requested              on Interim        Allowed on
                                                                               Basis         Interim Basis
      27925        I       TOTAL:          $36,336.50        $30,705.22        $36,336.50        $30,705.22



                           CHARTER OAK FINANCIAL CONSULTING LLC
    Fee Application Docket No.      Total Fees   Total Expenses  Fees Allowed                  Expenses
                                    Requested      Requested      on Interim                  Allowed on
                                                                     Basis                   Interim Basis
     27956         I      TOTAL:      $91,455.50         $251.00     $91,455.50                     $251.00
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                                              DAY PITNEY LLP
        Fee Application Docket No.         Total Fees  Total Expenses      Fees Allowed       Expenses
                                           Requested     Requested          on Interim       Allowed on
                                                                               Basis        Interim Basis
         28462                TOTAL:          $3,834.00            $0.00        $3,834.00            $0.00



                                         DELOITTE TAX LLP (41st) 1
       Fee Application Docket No.         Total Fees Total Expenses      Fees Allowed on Expenses
                                          Requested  Requested           Interim Basis    Allowed on
                                                                                          Interim Basis
         28069               TOTAL:          $43,513.00           $27.54       $43,513.00           $27.54



                                           DUANE MORRIS LLP
        Fee Application Docket No.        Total Fees Total Expenses        Fees Allowed       Expenses
                                          Requested    Requested            on Interim       Allowed on
                                                                               Basis        Interim Basis
         28342        I      TOTAL:          $16,836.00          $813.77      $16,836.00           $813.77



                                       FERRY JOSEPH & PEARCE, P.A.
        Fee Application Docket No.        Total Fees  Total Expenses       Fees Allowed       Expenses
                                          Requested     Requested           on Interim       Allowed on
                                                                               Basis        Interim Basis
         27935        I      TOTAL:          $19,075.00          $560.88      $19,075.00           $560.88



                                            FOLEY HOAG LLP
        Fee Application Docket No.        Total Fees Total Expenses        Fees Allowed       Expenses
                                          Requested    Requested            on Interim       Allowed on
                                                                               Basis        Interim Basis
         27960        I      TOTAL:          $47,463.00          $244.69       $47,463.00          $244.69



                              FRAGOMEN, DEL REY, BERNSEN & LOEWY LLP
        Fee Application Docket No.     Total Fees     Total Expenses   Fees Allowed           Expenses
                                       Requested        Requested       on Interim           Allowed on
                                                                           Basis            Interim Basis
I        27838        I      TOTAL: I     $7,075.00 I      $5,642.58 I     $7,075.00 I           $5,642.58 I




    ’The Forty-First Interim Period encompasses April through June 2011.
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                             HAMILTON, RABINOVITZ & ALSCIIULER, INC.
      Fee Application Docket No.      Total Fees    Total Expenses  Fees Allowed                               Expenses
                                      Requested       Requested      on Interim                               Allowed on
                                                                        Basis                                Interim Basis
        27937        I      TOTAL:          $700.00           $0.00       $700.00                                     $0.00



                                                      THE HOGAN FIRM
      Fee Application Docket No.                    Total Fees Total Expenses            Fees Allowed          Expenses
                                                    Requested    Requested                on Interim          Allowed on
                                                                                             Basis           Interim Basis
        28000         I           TOTAL:              $34,274.00            $705.37          $34,274.00             $70537



                                                   KIRKLAND & ELLIS LLP
      Fee Application Docket No.                   Total Fees  Total Expenses            Fees Allowed          Expenses
                                                   Requested     Requested                on Interim          Allowed on
                                                                                             Basis           Interim Basis
        28027                     TOTAL:             $847,526.50         $32,343.05        $847,526.50           $32,343.05



                                   KRAMER LEVIN NAFTALIS & FRANKEL LLP

      Fee Application Docket No.                    Total Fees      Total Expenses       Fees Allowed          Expenses
                                                    Requested         Requested           on Interim          Allowed on
                                                                                             Basis           Interim Basis
        28002         I           TOTAL:              $49,894.00          $2,308.18          $49,894.00            $2,308.18



                                          LAUZON BELANGER LESPERANCE
    Fee Application Docket No.                 Total Fees        Total Expenses       Fees Allowed        Expenses Allowed
                                               Requested           Requested           on Interim          on Interim Basis
                                                                                          Basis
      28005       I           TOTAL:      CDN $9,137.10          CDN $1,306.42        CDN $9,137.10          CDN $1,306.42



                                      LINCOLN PARTNERS ADVISORS LLC____________________
      Fee Application Docket No.           Total Fees   Total Expenses Fees Allowed on T Expenses
                                           Requested      Requested     Interim Basis    Allowed on
                                                                                        Interim Basis
        28356         I           TOTAL:    $170,000.00         $988.86    $170,000.00         $988.86



                              NORTON ROSE OR LLP (f/k/a Ogilvy Renault LLP)
      Fee Application Docket No.      Total Fees     Total Expenses    Fees Allowed on                          Expenses
                                      Requested         Requested       Interim Basis                          Allowed on
                                                                                                              Interim Basis
1       27924             1      TOTAL:    I     CDN $14,873.00 1     CDN $457.29 1     CDN $14,873.00 1       CDN $457.29 I
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                         OR1UCK, HERRINGTON & SUTCLIFFE LLP
Fee Application Docket No.       Total Fees Total Expenses Fees Allowed on                       Expenses
                                 Requested    Requested     Interim Basis                       Allowed on
                                                                                               Interim Basis
  28355                   I   TOTAL:        $486,275.25 I         $7,381.60     $486,275.25          $7,227.60



                                 PACHULSKI STANG ZIEHL & JONES LLP
Fee Application Docket No.             Total Fees   Total Expenses  Fees Allowed                 Expenses
                                       Requested      Requested      on Interim                 Allowed on
                                                                        Basis                  Interim Basis
  28334               I       TOTAL:    $101,206.50      $54,179.47   $101,206.50                  $54,179.47



                                  PHILLIPS, GOLDMAN & SPENCE, P.A.
Fee Application Docket No.              Total Fees     Total Expenses   Fees Allowed             Expenses
                                        Requested        Requested       on Interim             Allowed on
                                                                            Basis              Interim Basis
 27922        I               TOTAL: I     $7,384.00 I        $212.76 I     $7,384.00 I               $212.76



                                   PRICEWATERHOUSECOOPERS LLP__________
Fee Application Docket No.              Total Fees   Total Expenses  Fees Allowed                Expenses
                                        Requested      Requested      on Interim                Allowed on
                                                                         Basis                 Interim Basis
 27888            I           TOTAL:     $682,597.42      $11,036.74   $682,597.42                 $11,036.74



    PRICEWATERHOUSECOOPERS LLP (2010 Darex Puerto Rico Audit May-June 2011)

Fee Application Docket No.                Total Fees        Total Expenses    Fees Allowed       Expenses
                                          Requested           Requested        on Interim       Allowed on
                                                                                  Basis        Interim Basis
 27888            I           TOTAL:         $24,039.11             $94.80        $24,039.11           $94.80



     PRICE WATERHOUSECOOPERS LLP (Global Restructuring Project                    - April-July 2011)

Fee Application Docket No.                Total Fees        Total Expenses    Fees Allowed       Expenses
                                          Requested           Requested        on Interim       Allowed on
                                                                                  Basis        Interim Basis
 27888            I           TOTAL:          74,967.85              $0.00       $74,967.85             $0.00



 PRICEWATERHOUSECOOPERS LLP (Global Restructuring Project - August-September 2011)

Fee Application Docket No.                Total Fees        Total Expenses    Fees Allowed       Expenses
                                          Requested           Requested        on Interim       Allowed on
                                                                                  Basis        Interim Basis
 27888            I           TOTAL:        $206,388.60              $0.00      $206,388.60             $0.00
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                                      REED SMITH LLP

 Fee Application Docket No.        Total Fees         Total Expenses      Fees Allowed       Expenses
                                   Requested            Requested          on Interim       Allowed on
                                                                              Basis        Interim Basis
   27913               TOTAL:         $32,156.00            $1,289.01        $32,156.00          $1,289.01



                                        RICH, ALAN B.
 Fee Application Docket No.        Total Fees         Total Expenses      Fees Allowed       Expenses
                                   Requested            Requested          on Interim       Allowed on
                                                                              Basis        Interim Basis
   28014        I      TOTAL:         $29,120.00               $20.88         $29,120.00       $20.88



                              HON. ALEXANDER M. SANDERS, JR.
 Fee Application Docket No.        Total Fees         Total Expenses      Fees Allowed       Expenses
                                   Requested            Requested          on Interim       Allowed on
                                                                              Basis        Interim Basis
   28016        I      TOTAL:          $6,975.00                $0.00          $6,840.00            $0.00



                                      SAUL EWING LLP
 Fee Application Docket No.        Total Fees         Total Expenses      Fees Allowed       Expenses
                                   Requested            Requested          on Interim       Allowed on
                                                                              Basis        Interim Basis
   28013        I      TOTAL:         $29,770.00             $359.80          $29,770.00          $359.80



                                  SCARFONIE HAWKINS LLP




                                                 1
Fee Application Docket No.       Total Fees          Total Expenses     Fees Allowed on      Expenses
                                 Requested             Requested         Interim Basis      Allowed on
                                                                                           Interim Basis
   28001            TOTAL:      CDN $29,185.89       CDN $6,445.48      CDN $29,185.89     CDN $6,445.48



                          WARREN H. SMITH & ASSOCIATES, P.C.
 Fee Application Docket No.    Total Fees    Total Expenses  Fees Allowed                    Expenses
                               Requested       Requested      on Interim                    Allowed on
                                                                 Basis                     Interim Basis
   28485       I       TOTAL:    $118,347.50       $5,478.47   $118,347.50                       $5,478.47
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                   ________ STEPTOE & JOHNSON LLP
Fee Application Docket No.   Total Fees  Total Expenses                     Fees Allowed on       Expenses
                             Requested     Requested                         Interim Basis       Allowed on
                                                                                                Interim Basis
  28291               I   TOTAL:       1        $5,773.00 I      $18.80 I         $5,521.00 1           $18.80



                              STROOCK & STROOCK & LAVAN LLP
Fee Application Docket No.         Total Fees   Total Expenses  Fees Allowed                      Expenses
                                   Requested      Requested      on Interim                      Allowed on
                                                                    Basis                       Interim Basis
 27985        I           TOTAL:    $188,534.00       $3,532.88   $188,534.00                         $3,532.88



                                                TOWERS WATSON
Fee Application Docket No.                    Total Fees Total Expenses       Fees Allowed        Expenses
                                              Requested    Requested           on Interim        Allowed on
                                                                                  Basis         Interim Basis
  28426           I       TOTAL:                 $8,675.50         $0.00           $8,675.50             $0.00



                                           WOODCOCK WASHBURN LLF
Fee Application Docket No.                   Total Fees Total Expenses        Fees Allowed        Expenses
                                             Requested    Requested            on Interim        Allowed on
                   _________________                                              Basis         Interim Basis
  28121           I        TOTAL:                $3,527.50      $2,030.00          $3,527.50          $2,030.00
